OPINION — AG — **** FIREFIGHTER'S PENSION **** A FIREFIGHTER WITH PRIOR SERVICE IN A PAID CAPACITY AND SUBSEQUENT SERVICE IN THE CAPACITY OF A VOLUNTEER MAY NOT BE PAID A PENSION COMPUTED PURSUANT TO EITHER 11 O.S. 1971 364 [11-364], OR 11 O.S. 1975 Supp., 364 [11-364](B), UPON THE COMPLETION OF A TOTAL OF TWENTY YEARS SERVICE. PENSION BENEFITS FOR FIREFIGHTERS WHO ARE SERVING IN THE CAPACITY OF VOLUNTEERS AT THE TIME OF RETIREMENT REQUIREMENTS ARE MET ARE TO BE COMPUTED PURSUANT TO THE PROVISIONS OF 11 O.S. 1975 Supp., 345 [11-345]. (DON KISER)